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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
v.                                           :       Case No. 1:21-cr-687 (RC)
                                             :
DAVID CHARLES RHINE,                         :
                                             :
Defendant.                                   :


        UNITED STATES’ UNOPPOSED MOTION FOR EXTENSION OF TIME
            TO RESPOND TO MOTION FOR BOND PENDING APPEAL

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully moves this Court for a 7-day extension of time, from January

22, 2024, until January 29, 2024, to file the government’s response to the defendant’s motion for

bond pending appeal (ECF No. 124). As explained below, good cause exists for the extension

requested in this motion:

       1.      In November 2021, the defendant was arrested and charged by information on the

following counts in connection with his participation in the January 6, 2021 attack on the U.S.

Capitol: Entering and Remaining in a Restricted Building or Grounds, in violation of 18 U.S.C.

§ 1752(a)(1); Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation

of 18 U.S.C. § 1752(a)(2); Disorderly Conduct in a Capitol Building, in violation of 40 U.S.C.

§ 5104(e)(2)(D); and Parading, Demonstrating, or Picketing in a Capitol Building, in violation of

40 U.S.C. § 5104(e)(2)(G).

       In April 2023, a jury found Rhine guilty on all counts. In September 2023, this Court

sentenced Rhine to four months of incarceration, one year of supervised release, and a special

assessment. The Court also extended Rhine’s self-surrender date until March 1, 2024.
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       2.       On January 8, 2024, Rhine filed a motion for bond pending appeal, which is now

before the Court. (ECF No. 124). In the motion, Rhine identifies three issues for appeal that, in

his view, constitute “substantial question[s] of law or fact” satisfying the requirements in 18 U.S.C.

§ 3143(b): (i) the Court’s jury instructions regarding Counts 1 and 2 under 18 U.S.C. § 1752; (ii)

the constitutionality under the First Amendment of his convictions in Counts 3 and 4 under 40

U.S.C. §§ 5104(e)(2)(D) and (G); and (iii) the constitutionality of the sentence imposed by the

Court. The government’s response to the defendant’s motion is currently due by January 22, 2024.

       3.       Assistant United States Attorney Kelly Moran and I are the attorneys responsible

for preparing the government’s response to the defendant’s motion. Due to several preexisting

professional obligations with proximate deadlines, Ms. Moran and I need additional time to

prepare a response that will best assist the Court in adjudicating the defendant’s motion. Over the

last two weeks, these competing professional obligations have included the following:

                a.     Ms. Moran has been immersed in pretrial preparations and trial in United

       States v. Michael Pope, No. 21-cr-0128-RC (trial held on Jan. 17-18, 2024);

                b.     I have devoted considerable time and effort to (i) preparing a supplemental

       brief in United States v. GossJankowski, No. 21-cr-123-PLF (supp’l brief filed Jan. 11,

       2024); (ii) preparing for a post-trial evidentiary hearing in the same case, which was set for

       January 16, 2024 and was vacated on the same day because of inclement weather and the

       Court’s closure; and (iii) handling various supervisory responsibilities in other January 6

       cases.

       4.       I have conferred with Ms. Becky Fish, counsel for the defendant, about this motion.

Ms. Fish indicated that the defendant does not oppose this motion.




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       WHEREFORE, the United States respectfully moves that the time within which it must

file its response to the defendant’s motion for bond pending appeal be extended from January 22,

2024, to January 29, 2024.

                                       Respectfully submitted,


                                       MATTHEW M. GRAVES
                                       United States Attorney
                                       D.C. Bar No. 481052

                                  By: /s/ Francesco Valentini
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